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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION                                              ENTERED
                                                                                           04/20/2020
IN RE:                        §
NORTHSTAR OFFSHORE GROUP, LLC §                       CASE NO: 16-34028
       Debtor(s)              §
                              §                       CHAPTER 11
                              §
JAMES KATCHADURIAN            §
       Plaintiff(s)           §
                              §
VS.                           §                       ADVERSARY NO. 18-03079
                              §
NGP ENERGY CAPITAL            §
MANAGEMENT, LLC, et al        §
       Defendant(s)           §

                                          ORDER

      For the reasons set forth in the Memorandum Opinion issued on this date:

      1. The claims arising under section 24.006(b) of the Texas Business and Commerce
         Code asserted by James Katchadurian, in his role as Litigation Trustee of Northstar’s
         Litigation Trust, are dismissed.

      2. The Trustee’s claims against the NGP Directors, the Northstar Directors, and NGP-
         NOG for breach of the duty of care are dismissed.

      3. The Trustee may amend his Complaint.

      4. All other relief sought in NGP Energy Capital Management, LLC, et al.’s motion to
         dismiss the Complaint is denied.

      SIGNED April 20, 2020.


                                              _________________________________
                                                         Marvin Isgur
                                              UNITED STATES BANKRUPTCY
                                              JUDGE




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